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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

DISH NETWORK L.L.C.,                     §
                                         §
        Plaintiff,                       § Civil Action No. 4:17-cv-01618
                                         §
   v.                                    §
                                         §
SHAHJAHAN DURRANI, d/b/a ZemTV,          §
and ADAM LACKMAN, d/b/a                  §
www.tvaddons.ag, www.tvaddons.org,       §
www.streamingboxes.com, and              §
www.offshoregit.com
                                         §
                                         §
        Defendants.                      §




Plaintiff DISH Network L.L.C.’s Memorandum of Points and Authorities in Support of
              Motion for Default Judgment Against Shahjahan Durrani
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                                        I.     Summary

       Plaintiff DISH Network L.L.C. (“DISH”) sued Defendant Shahjahan Durrani

(“Defendant”) for direct copyright infringement. Defendant committed copyright infringement by

operating the ZemTV service, which unlawfully retransmitted television channels and copyrighted

content exclusively licensed to DISH throughout the United States. (Dkt. 10 First Amended

Complaint ¶¶ 1, 11-12.) Defendant’s wrongful acts infringed DISH’s exclusive rights to distribute

and publicly perform the programming that airs on these protected channels.

       Defendant created the ZemTV add-on for the Kodi media player and managed and operated

the ZemTV service. 1 Defendant selected and located channels exclusively licensed to DISH that

were, without authorization, continuously captured and retransmitted over the Internet to users of

ZemTV in the United States. (Dkt. 10 ¶¶ 11-12.) Defendant developed ZemTV and then

distributed and supported it through the Tvaddons.ag and Offshoregit.com websites (collectively

“Tvaddons”), resulting in his unauthorized retransmission of television channels exclusively

licensed to DISH and causing injury to DISH throughout the United States. (Dkt. 10 ¶¶ 13-15.)

Therefore, Defendant is liable for direct copyright infringement.

       Defendant engaged in these illegal activities for more than 16 months, despite having

received DISH’s notices of infringement from his service providers and Tvaddons. (Dkt. 10 ¶ 16.)

These notices of infringement informed Defendant of the infringing nature of his conduct and

demanded that the protected channels be removed from ZemTV. (Dkt. 10 ¶ 16.) Defendant

continued to retransmit the protected channels resulting in willful copyright infringement.

       Defendant initially retained counsel and appeared in this action filing a motion to dismiss

alleging that the Court did not have personal jurisdiction. The Court disagreed finding personal

jurisdiction. Defendant then instructed his counsel to take no further action on his behalf and he


1
 The ZemTV add-on for the Kodi media player and ZemTV service are collectively referred to as
“ZemTV.”
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failed to answer DISH’s complaint or further defend. Default judgment is now appropriate. DISH

requests maximum statutory damages for thirteen registered, copyrighted works, which represents

a small fraction of Defendant’s overall infringement, and a permanent injunction to prevent further

infringement of DISH’s copyrights and further irreparable harm to DISH.

                                      II.    Issues Presented

       1.      Do the well-plead factual allegations in DISH’s complaint establish Defendant’s

               liability for direct copyright infringement?

       2.      Was Defendant’s copyright infringement willful, warranting maximum statutory

               damages for thirteen registered works?

       3.      Should a permanent injunction be issued to prevent further infringement of DISH’s

               copyrights and further irreparable harm to DISH?
                               III.     Argument and Authorities

A.     Legal Standard

       Default judgment is properly entered if the well-pleaded factual allegations in the

complaint, taken as true, establish Defendant’s liability. See Nishimatsu Constr. Co. v. Houston

Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). Damages may be awarded without a hearing if

“the amount claimed is a liquidated sum or one capable of mathematical calculation.” James v.

Frame, 6 F.3d 307, 310 (5th Cir. 1993). Statutory damages up to $150,000 per work may be

awarded for willful copyright infringement. 17 U.S.C. § 504(c). The Copyright Act authorizes

the Court to “grant . . . final injunctions on such terms as it may deem reasonable to prevent or

restrain infringement of a copyright.” 17 U.S.C. § 502(a).

B.     The Court has Jurisdiction to Grant Default Judgment.
       Defendant defaulted by instructing his counsel to take no further action on his behalf and

failing to answer DISH’s complaint despite being properly served. (Dkts. 19, 34, 36.) Defendant

was served with applications for entry of default and this motion. (Dkt. 35, Certificate of Service.)

Defendant is over the age of 18, of sound mind, and a British citizen and resident, and therefore

he is not a minor, incompetent, or exempt under the Servicemembers’ Civil Relief Act. Fed. R.
                                                 2
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Civ. P. 55(b)(2); (Dkt. 24-1, Durrani Decl. ¶¶ 1-2). The Court has subject matter jurisdiction under

28 U.S.C. §§ 1331 and 1338, personal jurisdiction under Fed. R. Civ. P. 4(k)(2), and venue is

proper. (App. at 11, 13-14, 4-5 ¶¶ 2-4; App. at 462-466, 458-460 ¶¶ 4-6; Dkt. 10 ¶¶ 5-7; Dkt. 28,

Opposition to Motion to Dismiss for Lack of Personal Jurisdiction; Dkt. 29 Order Denying Motion

to Dismiss for Lack of Personal Jurisdiction).

C.     Default Judgment on Count I, Direct Copyright Infringement.
       A claim for copyright infringement has two elements: “(1) ownership of a valid copyright,

and (2) copying of constituent elements of the work that are original.” Feist Publ’ns, Inc. v. Rural

Tel. Serv. Co., 499 U.S. 340, 361 (1991).

       1.       DISH Owns Valid Copyrights.
       DISH is one of the largest pay-television providers in the United States, delivering

copyrighted programming to millions of subscribers nationwide. (Dkt. 10 ¶ 8.) Networks provide

channels that include Aaj Tak, Aastha Bhajan, Aastha TV, ARY Digital, ARY News, B4U Movies,

B4U Music, Dunya TV, Express Entertainment, Express News, Geo News, Geo TV, Hum Masala,

Hum Sitaray, Hum TV, India Today (Headlines Today), Movies OK, Sahara One, Sahara Samay,

Times Now, and Zoom (collectively, “Protected Channels”). (Id. ¶¶ 9-10.) The licensors of the

Protected Channels acquire copyrights in the works that air on their respective channels including

by producing works and by assignment. (Id. ¶ 10.) Copyrighted works that aired on the Protected
Channels and are registered with the United States Copyright Office include episodes of Khabar

Yeah Hai, Nuqta-E-Nazar, On the Front, Tonight with Moeed Pirzada, and Voice of Dunya. (App.

at 307-332, 5-6 ¶ 7; see also Dkt. 10 ¶¶ 10, B (seeking statutory damages for registered

copyrights)).

       DISH holds the exclusive right to distribute and publicly perform in the United States the

works that air on the Protected Channels pursuant to written licensing agreements with networks

and their agents (“Networks”). (Dkt. 10 ¶¶ 9-10.) The written agreements are sufficient to transfer

the specified exclusive rights to DISH. See 17 U.S.C. §§ 201(d), 204(a) (authorizing transfer of

rights protected under the Copyright Act by signed, written agreement). As the exclusive licensee
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of the distribution and public performance rights, DISH may sue for Defendant’s infringement of

those rights. 17 U.S.C. § 501(b); Davis v. Blige, 505 F.3d 90, 100 n.10 (2d Cir. 2007) (“Under

current copyright law, exclusive licenses are recognized as a type of an ownership interest ….

Exclusive licensees may sue without joining the copyright owners.”).

        The foregoing well-pleaded allegations in DISH’s complaint satisfy the requirement of

copyright ownership. (Dkt. 10 ¶¶ 10, B); DISH Network L.L.C. v. TV Net Solutions, LLC, No.

6:12-cv-1629-Orl-41TBS, 2014 WL 6685351, at *4-5 (M.D. Fla. Nov. 25, 2014) (granting default

judgment finding copyright ownership was sufficiently alleged where complaint stated the plaintiff

held the exclusive right to distribute television programs pursuant to written agreements entered

into with channel providers); see also 17 U.S.C. § 410(c) (stating that a certificate of registration

is “prima facie evidence of the validity of the copyright and of the facts stated in the certificate,”

including ownership); DISH Network L.L.C. v. Shava IPTV Network LLC, No. 1:15-cv-00706

(TSE/IDD), Dkt. 120 at 9 (E.D. Va. Sept. 15, 2016) (plaintiffs presumed to have valid copyrights

because copyrights registered with U.S.C.O.); (App. at 402, 307-332, 5-6 ¶ 7).

        A published work is protected provided: “(1) on the date of first publication, one or more

of the authors … is a national, domiciliary, or sovereign authority of a treaty party … ; or (2) the

work is first published … in a foreign nation that, on the date of first publication, is a treaty party.”

17 U.S.C. § 104(b).
        DISH claims protection for works that aired on the Protected Channels and were authored

or first published in Pakistan and India. (Dkt. 10 ¶¶ 18-19.) These nations are parties to a copyright

treaty adhered to by the United States, the Berne Convention for the Protection of Literary and

Artistic Works, and therefore each is a “treaty party” under section 104(b). 17 U.S.C. § 101;

U.S.C.O., Circular 38(a), available at www.copyright.gov/circs/circ38a.pdf. The works at issue

satisfy the requirements of section 104(b) for protection under the Copyright Act.

        DISH’s copyrighted works need not be registered with the United States Copyright Office

to be protected. Registration is only necessary for a “United States work.” 17 U.S.C. § 411(a). A

work first published in a treaty party is not a “United States work.” See id. § 101 (defining the
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term as a work first published in the United States, simultaneously in the United Sates and another

place, or in a foreign nation not a treaty party). DISH alleges that its copyrighted programs are

not United States works because they were authored or first published in Pakistan and India, which

are treaty parties under the Copyright Act. (Dkt. 10 ¶ 19.) Thus, neither DISH nor Networks are

required to register their works. 17 U.S.C. § 411(a).

       However, as discussed in Part III.D.1, thirteen of DISH’s copyrighted works are registered

with the United States Copyright Office, which creates a presumption as to ownership and validity.

See 17 U.S.C. § 401(c); General Universal Systems, Inc. v. Lee, 379 F.3d 131, 141 (5th Cir. 2004)

(“A certificate of registration, if timely obtained, is prima facie evidence of both that a copyright

is valid and that the registrant owns the copyright.”); Shava, Dkt. 120 at 9 (applying § 401(c)

presumption to registered Hindi language programs). “[O]wnership of a valid copyright” is

established by default. Feist, 499 U.S. at 361. DISH is the exclusive licensee pursuant to written

agreements with Networks, and therefore DISH holds the copyrights in the registered works. (Dkt.

10 ¶¶ 9-10); see Glovaroma, Inc. v. Maljack Productions, Inc., 71 F.Supp.2d 846, 854 (N.D. Ill.

1999) (plaintiffs/assignee created a rebuttable presumption that a third party copyright claimant

was the owner of the copyright via the registration certificate and the defendant failed to introduce

any factual evidence to counter the registration certificate); Smith v. Casey, 741 F.3d 1236, 1241

(11th Cir. 2014) (explaining that § 501(b) provides standing to both the legal and beneficial owner
of a copyright interest and authorizing one to rely on a copyright registration issued to the other.)

       2.      Defendant Infringed DISH’s Copyrights.
       Copyright infringement requires “copying of constituent elements of the work that are

original.” Feist, 499 U.S. at 361. Copying means to violate an exclusive right granted to copyright

owners in 17 U.S.C. § 106, including to distribute or publicly perform. Arista Records LLC v. Doe

3, 604 F.3d 110, 117 (2d Cir. 2010).

       Defendant created, managed, and operated ZemTV.               (Dkt. 10 ¶ 11.)      Defendant

retransmitted the Protected Channels through ZemTV. (Id. ¶ 12.) In particular, Defendant

captured live broadcast signals of the Protected Channels, transcoded these signals into a format
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useful for streaming over the Internet, and transferred the transcoded content to computer servers

controlled and maintained by Defendant.       (Id. ¶ 11.)   The Protected Channels were then

retransmitted to ZemTV users in the United States. (Id. ¶¶ 12-13.) As a result, Defendant directly

infringed DISH’s exclusive rights to distribute and publicly perform the works airing on the

Protected Channels through ZemTV. (Id. ¶¶ 20-21.)

        These well-pleaded allegations in DISH’s complaint establish that Defendant infringed

DISH’s copyrights in works airing on the Protected Channels, thus satisfying the second element

of DISH’s copyright infringement claim. See Am. Broad. Cos. v. Aereo, Inc., 134 S.Ct. 2498,

2506-11 (2014) (holding that provider of centralized equipment used to stream broadcast

programming to its subscribers infringed content owners’ right of public performance); Shava,

Dkt. 120 at 9 (same); China Central Television v. Create New Tech. (HK) Ltd., No. 15-01869

MMM, 2015 WL 3649187, at *8 (C.D. Cal. June 11, 2015) (same); DISH Network L.L.C. v. Lool

Tech Co., Ltd., No. 4:16-cv-01771, Dkt. 25 at 1 (S.D. Tex. Mar. 17, 2017) (same); (App. at 402,

425).

        Default judgment should be granted on Count I for direct copyright infringement. See TV

Net, 2014 WL 6685351, at *4 (granting default judgment and finding copyright infringement based

on allegations that defendants retransmitted copyrighted programs via streaming services); Shava,

Dkts. 120 at 9, 124 (same); Lool Tech, Dkt. 25 at 1; (App. at 402, 410-411, 425).

D.      Statutory Damages Should be Awarded for Copyright Infringement.
        The Copyright Act allows for recovery of the copyright owner’s actual damages plus any

additional profits of the infringer, or statutory damages. 2 See 17 U.S.C. § 504(a). DISH elects

statutory damages and moves the Court to award damages for its thirteen registered, copyrighted

works, as requested in the complaint. (App. at 307-332, 5-6 ¶ 7; Dkt. 10 ¶¶ 10, B.)




2
 Attorneys’ fees and costs are also recoverable, but DISH is not seeking such a recovery in this
case. See 17 U.S.C. § 505.
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       1.      Defendant Engaged in Massive Copyright Infringement.
       Defendant infringed DISH’s copyrights on a massive scale by retransmitting the Protected

Channels without authorization on ZemTV. Defendant transmitted the Protected Channels on

ZemTV for at least 16 months from February 2016 through June 2017. (App. at 334, 28-305, 4-6

¶¶ 2, 6, 8; App. at 462-466, 458-460 ¶¶ 4-6.) Monitoring by an enforcement expert established

that Defendant continually retransmitted the Protected Channels, including 855 documented

instances. (App. at 462-466, 458-460 ¶¶ 4-6.) The number of individual works aired on the

Protected Channels is more substantial.

       Most of the copyrighted works aired on the Protected Channels are unregistered non-

United States works, for which DISH’s monetary remedy is limited to actual damages and the

disgorgement of a defendant’s profits. See 17 U.S.C. §§ 412, 504. The actual damages that DISH

sustained are difficult to quantify for the reasons stated in Part III.E.1 discussing permanent

injunctive relief, and Defendant’s refusal to participate in this case has prevented DISH from

obtaining evidence of his profits. Consequently, the damages request is limited to registered

works, which allow for recovery of statutory damages.
       DISH owns copyrights in at least thirteen works registered with the United States

Copyright Office (the “Registered Works”). (App. at 307-332, 5-6 ¶ 7; Dkt. 10 ¶ 10.) Each work

was registered within 3 months of its first publication. (See App. at 307-332.) As a result, the
registrations were timely for purposes of awarding statutory damages. See 17 U.S.C. § 412(2)

(“[N]o award of statutory damages . . . shall be made for . . . any infringement of copyright

commenced after first publication of the work and before the effective date of its registration,

unless such registration is made within three months after the first publication of the work.”).

       The Registered Works are episodes in television series that air on a Protected Channel.

(Dkt. 10 ¶ 10; App. at 5-6 ¶ 7.) Defendant is deemed to have infringed the copyrights in the

Registered Works by virtue of his default. See Nishimatsu, 515 F.2d at 1206. In addition, video

evidence and monitoring establish that the Registered Works aired on ZemTV. (See App. at 334,

307-332, 5-6 ¶¶ 7-8 (showing dates of publication are after the date Defendant began retransmitting
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the Protected Channel); App. at 462-466, 458-460 ¶¶ 5-6 (“The Protected Channels were observed

at various times and days of the week, demonstrating that the Protected Channels were generally

retransmitted 24 hours per day, 7 days per week.”)). DISH requests statutory damages for each of

the thirteen Registered Works.
       2.      Statutory Damages Should be Awarded at $150,000 for Each of the Thirteen
               Registered Works.

       Although Defendant committed massive copyright infringement over at least a 16 month

period, infringing hundreds if not thousands of works, DISH seeks statutory damages for a small

sample of the works infringed at the maximum statutory amount.
       Statutory damages up to $150,000 per work may be awarded for willful infringement. 17

U.S.C. § 504(c). All relevant factors are considered when fixing the amount of statutory damages,

which in this case includes the fact that Defendant “knew, had reason to know, or recklessly

disregarded the fact that [his] conduct constituted copyright infringement,” Defendant “[is]

apparently impervious to either deterrence or rehabilitation,” and Defendant “[has] a history of

copyright infringement.” Superior Form Builders, Inc. v. Dan Chase Taxidermy Supply Co., 74
F.3d 488, 496 (4th Cir. 1996). Statutory damages of $150,000 for each of the thirteen Registered

Works, for a combined total of $1,950,000, are appropriate in this case.

       Defendant willfully infringed DISH’s copyrights. (Dkt. 10 ¶ 22.) An infringement is

willful if the defendant “knows his actions constitute an infringement.” Broadcast Music, Inc. v.

Xanthas, Inc., 855 F.2d 233, 236 (5th Cir. 1998). Defendant’s willfulness is shown from advising

ZemTV users that the sources of the works retransmitted on ZemTV “are bound to go down, taken

away, be secured and [have] maintenance issues so [ZemTV] is not guaranteed [to] run 24/7; for

that you would need [a] proper TV subscription.” (Dkt. 10 ¶ 13.) “Willfulness may [also] be

inferred if notice of a valid copyright was given prior to infringement.” Malaco Inc. v. Cooper,

No. 300CV2648P, 2002 WL 1461927, at *4 (N.D. Tex. July 3, 2002) (citing Chi-Boy Music v.

Charlie Club, Inc., 930 F.2d 1224, 1227 (7th Cir. 1991).




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       Defendant had actual knowledge of his infringement. Between August 9, 2016 and May

11, 2017, service providers associated with ZemTV were provided with 100 notices demanding

the removal of the Protected Channels. (Dkt. 10 ¶ 16; App. at 28-305, 5 ¶ 6.) A notice of

infringement was also sent to Tvaddons, which Defendant used to distribute ZemTV. (Dkt. 10 ¶¶

13, 16; App. at 18-21, 24-25 (Request 20), 5 ¶ 5.) The notices of infringement were forwarded to

Defendant. (Dkt. 10 ¶ 16; App. at 24-25 (Request 21), 5 ¶ 5.)

       When service providers terminated their services to Defendant or took down the infringing

streams of television channels, Defendant would move or switch sources to restore retransmission

of the Protected Channels from different locations. (Dkt. 10 ¶ 16; see also App. at 28-305.)

Defendant retransmitted the Protected Channels without authorization after receiving the notices

of infringement. (App. at 462-466, 458-460 ¶¶ 4-6.)

       Defendant indisputably had actual knowledge that his conduct constituted copyright

infringement, and is therefore a willful copyright infringer subject to maximum statutory damages.

See Superior Form Builders, 74 F.3d at 497 (4th Cir. 1996) (upholding award of maximum

statutory damages for willful copyright infringement and taking into account that defendant had

notice of his infringement).

       Additional factors such as “the deterrent effect on the infringer and on third parties,

expenses saved and profits gained from the infringement, and the infringer’s state of mind in
committing the infringement” can also support an award of statutory damages of up to $150,000

per work. Id. at *4-5. Defendant used ZemTV to distribute the Protected Channels on a 24 hour

per day, 7 day per week basis, and did so for at least 16 months. Defendant likely would not have

continued offering the Protected Channels on ZemTV if it was not highly profitable. Considering

Defendant does not pay licensing fees for the Protected Channels and instead engages in copyright

infringement, it may be inferred that ZemTV generated substantial profits. The exact amount of

profits that Defendant received and number of persons using ZemTV is not available because

Defendant chose to default rather than defend this action, thereby frustrating attempts at obtain

discovery from him.
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         Defendant’s infringement caused DISH to suffer lost subscription revenues, lost market

share, and price erosion, which are inherently difficult to calculate. (See Part III.E.1.) It would

cost a consumer approximately $95 per month to subscribe to DISH and receive all the Protected

Channels that are licensed and available on DISH’s satellite service. (App. at 469-470 ¶¶ 4, 7.)

Thus, each user of ZemTV potentially deprived DISH of substantial revenues. Defendant’s

unauthorized retransmission of the Registered Works contributed to DISH’s loss because the

Registered Works aired on a Protected Channel. (App. at 334, 307-332, 5-6 ¶¶ 7-8; Dkt. 10 ¶ 10.)

         Defendant should not be rewarded for his failure to defend this case, which is effectively

precluding any attempt at calculating actual damages and profits. Teri Woods Publ’g, L.L.C. v.

Williams, No. 12-4854, 2013 WL 6179182, at *4 (E.D. Pa. Nov. 25, 2013) (awarding maximum

statutory damages against copyright infringers, without “evidence of Defendants’ profits,

Defendants’ costs avoided or Plaintiffs’ lost profits,” where defendants failed to answer complaint

or participate in any way).

         Defendant’s clear willfulness and the strong need for deterrence, as shown by ongoing

infringement in the face of numerous notices of infringement and intent to operate his service on

the basis of stealing others’ intellectual property, justifies an award of $150,000 per work. See

Columbia Pictures Television, Inc. v. Krypton Broad. of Birmingham, Inc., 259 F.3d 1186, 1195

(9th Cir. 2001) (statutory damages of $31.68 million were not excessive in case of willful copyright
infringement, as shown by the defendant continuing to broadcast programming after the case was

filed); China Central, Dkt. 158 at 33-34, 44 (granting default judgment and awarding $30 million

in statutory damages for copyright infringement); Shava, Dkts. 120 at 12, 124 (awarding $150,000

for each of 171 registered works totaling $25,650,000 for operating a streaming service); Lool

Tech, Dkt. 25 at 2-3 ¶ 1 (awarding $150,000 for each of 7 registered works totaling $1,050,000 for

operating a streaming service); (App. at 368-369, 379, 405, 410, 426-427 ¶ 1). DISH should be

awarded statutory damages of $1,950,000, which is $150,000 for each of its thirteen Registered

Works.


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E.      DISH Should be Awarded Permanent Injunctive Relief.
        The Copyright Act authorizes the Court to “grant . . . final injunctions on such terms as it

may deem reasonable to prevent or restrain infringement of a copyright.” 17 U.S.C. § 502(a). A

permanent injunction is appropriate where the plaintiff shows: “(1) that it has suffered an

irreparable injury; (2) that remedies available at law, such as monetary damages, are inadequate to

compensate for that injury; (3) that, considering the balance of hardships between the plaintiff and

defendant, a remedy in equity is warranted; and (4) that the public interest would not be disserved

by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). Each

requirement for a permanent injunction is satisfied here.

        1.      DISH’s Irreparable Harm and Money Damages are Inadequate.
        Reputational injury and lost profits, which are difficult to calculate, each constitute

irreparable harm. See Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047, 1056 (5th Cir. 1997)

(finding irreparable harm based upon potential damage to reputation); Fl. Businessmen v. City of

Hollywood, 648 F.2d 956, 958 n.2 (5th Cir. 1981) (“A substantial loss of business may amount to
irreparable injury if the amount of lost profits is difficult or impossible to calculate.”).

        DISH contracted with Networks granting DISH the exclusive right to transmit the

Protected Channels to subscribers in the United States. (Dkt. 10 ¶¶ 9-10; App. at 469 ¶ 4.) DISH

offers the Protected Channels to its subscribers for a fee. (Dkt. 10 ¶ 8; App. at 470 ¶ 7.) DISH
loses revenues and market share when users receive the Protected Channels through ZemTV,

which is provided free compared to purchasing the channels from DISH. (Dkt. 10 ¶ 23; App. at

470-471 ¶¶ 8, 10.) Quantifying DISH’s lost revenues is impractical as the number of customers

that would have selected or otherwise stayed with DISH cannot be easily determined. (App. at

470-471 ¶¶ 8, 10.) Defendant’s copyright infringement, if allowed to continue, will lead to

accumulating losses that are increasingly difficult to calculate.

        DISH is irreparably harmed by subscriber loss and reduction in market share resulting from

ZemTV.       See Shava, Dkt. 120 at 13 (finding irreparable harm and monetary damages are

inadequate because defendants are liable for copyright infringement and plaintiffs have alleged the
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difficulty of determining the extent of the harm from the infringements); China Central, 2015 WL

3649187, at *13 (“Defendants’ conduct has caused irreparable harm because it has materially

reduced the number of individuals who subscribe to authorized U.S. platforms for [plaintiffs’]

programming, causing lost market share.”); Warner Bros. Entm’t, Inc. v. WTV Sys., Inc., 824 F.

Supp. 2d 1003, 1013 (C.D. Cal. 2011) (enjoining unlawful streaming and finding “the loss of

revenue to Plaintiffs and their licensees, which is already significant, will continue to increase, and

constitutes irreparable injury”); (App. at 406).

       Second, Defendant’s unauthorized retransmission of the Protected Channels irreparably

harms DISH by damaging its business reputation and goodwill. ZemTV is not subject to DISH’s

quality assurance and security protocols and is plagued by interruption or downtime and poor

picture quality, which harms DISH in the eyes of consumers that mistakenly believe the Protected

Channels on ZemTV originate from or are approved by DISH or Networks, or incorrectly assume

this is the same level of quality received from a legitimate service such as that provided by DISH.

(App. at 471-472 ¶¶ 11-12); See China Central, 2015 WL 3649187, at *13 (“[D]efendant’s

infringing conduct has caused irreparable harm because it impairs plaintiffs’ brand, reputation, and

goodwill by associating their programming with poor quality transmissions and viewing

experiences on [defendants’] device.”); WTV, 824 F. Supp. 2d at 1012-14 (finding irreparable harm

for reasons that include sub-optimal viewing experience and risk of customer confusion associated
with defendant’s unauthorized video streaming service).

       Finally, Defendant may not be financially able to compensate DISH for the damages

caused to date or losses incurred in the future, and therefore Defendant’s infringement causes

irreparable harm to DISH for which monetary damages alone are not an adequate remedy. Fox

Television Stations, Inc. v. BarryDriller Content Sys., PLC, 915 F. Supp. 2d 1138, 1147 (C.D. Cal.

2012) (finding irreparable harm based in part on defendants’ likely inability to satisfy statutory

damages arising from their unauthorized retransmission of television programs); Metro-Goldwyn-

Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1217 (C.D. Cal. 2007) (finding

irreparable harm under similar circumstances).
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          2.     The Balance of Equities and Public Interest Favor an Injunction.
          DISH will be irreparably harmed without an injunction. An injunction would only require

that Defendant forego illegal conduct, which is not entitled to any weight in an equitable balancing

of factors. Lakedreams v. Taylor, 932 F.2d 1103, 1110 n.12 (5th Cir. 1991) (“Where the only

hardship that the defendant will suffer is lost profits from an activity which has been shown likely

to be infringing, such an argument in defense merits little equitable consideration.”); Apple

Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1255 (3d Cir. 1983) (holding

injunction may issue despite potentially “devastating effect” on defendant’s business because an

infringer is not “permitted to construct its business around its infringement”).

          Permanently enjoining Defendant will advance the public interest by protecting the

copyrighted works airing on the Protected Channels, maintaining the incentive for Networks to

produce these works and for DISH to license them. See Shava, Dkt. 120 at 13 (“[I]t is in the public

interest to uphold the exclusive rights of the copyright owner.”); China Central, 2015 WL

3649187, at *14 (Any “interest the public may have ‘in receiving copyrighted content for free is

outweighed by the need to incentivize the creation of original works’”) (quoting Grokster, 518 F.
Supp. 2d at 1222); (App. at 406).

          3.     The Court Should Order Third Party Service Providers to Cease Providing
                 Services Supporting Defendant’s infringement.

          Defendant repeatedly used third party service providers to retransmit the Protected

Channels. (App. at 28-305, 5 ¶ 6, Ex. 5; App. at 462-466, 458-460 ¶¶ 4-6.) Disabling the computer

servers will assist in at least temporarily preventing Defendant from retransmitting the Protected

Channels. (Dkt. 10 ¶ 16.) Defendant also used service providers including Twitter, Facebook,

GitHub, Google, and Microsoft to promote and support ZemTV. (Dkt. 28-3, Ferguson Decl. ¶ 13

(b-f)).

          Courts have enjoined third parties who received actual notice of a permanent injunction

from providing services in connection with copyright infringement. See China Central, Dkt. 192

at ¶¶ 16-17 (ordering third party service providers to cease providing web, server, file hosting, data

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center and colocation, primary and backup storage, back-end, traffic routing, bandwidth, content

delivery networks, domain name server systems, search-based online advertising, domain name

registration privacy protection, social media, user generated and online content, and data security

services); Lool Tech, Dkt. 25 at ¶ 3 (ordering third party service providers to cease providing

electronic storage, computer server, website hosting, file hosting, domain hosting, domain name

registration, content delivery or acceleration, or social media services); Times Content Limited v.

Doe, No. 4:17-cv-01287, Dkt. 10 at ¶ 2 (S.D. Tex. May 5, 2017) (ordering third party service

providers to suspend all services to infringing websites); Showtime Networks Inc. v. Doe, No. 2:15-

cv-03147-GW-MRW, Dkt. 20 at ¶ 2 (C.D. Cal. Apr. 30, 2015) (same); Warner Bros. Entm’t, Inc.

v. Doe, No. 14-cv-3492, Dkt. 27 at 6-7 (S.D.N.Y. Oct. 3, 2014) (same); Shava, Dkts. 136 at 6, 138

at 2 (enjoining third party service providers and the affiliated computer servers from providing

services to the defendants that support their infringing activity); (App. at 390-391, 418, 423, 428,

433-434, 440-441, 449-450); see also Arista Records, LLC v. Tkach, No. 15-cv-3701(AJN), 122

F. Supp. 3d 32, 36-38 (S.D.N.Y. 2015) (holding non-party service providers must comply with

injunction, finding “courts that have addressed comparable technological services have similarly

held that they fall within an injunction’s reach if those services are knowingly used to facilitate

injunction violations”) (citing cases).

       A proposed permanent injunction has been filed, which is similar to the injunctions entered
in analogous cases. See China Central, Dkt. 192; Lool Tech, Dkt. 25; (App. at 286-392, 427-428).

                                          IV.   Conclusion
       The Court should grant this motion and hold Defendant liable for damages in the amount

of $1,950,000 and enter a permanent injunction, which is necessary to protect DISH’s copyrights

from further infringement.




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Dated: September 7, 2018                Respectfully submitted,

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